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                    United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
LYLE W. CAYCE                                                    TEL. 504-310-7700
CLERK                                                         600 S. MAESTRI PLACE,
                                                                      Suite 115
                                                             NEW ORLEANS, LA 70130

                            October 25, 2024
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW
Regarding:      Fifth Circuit Statement on Petitions for Rehearing
                or Rehearing En Banc
      No. 21-60285      Tesla v. NLRB
                        USDC No. 32-CA-197020
                        USDC No. 32-CA-197058
                        USDC No. 32-CA-197091
                        USDC No. 32-CA-197197
                        USDC No. 32-CA-200530
                        USDC No. 32-CA-208614
                        USDC No. 32-CA-210879
                        USDC No. 32-CA-220777

Enclosed is a copy of the court’s decision. The court has entered
judgment under Fed. R. App. P. 36. (However, the opinion may yet
contain typographical or printing errors which are subject to
correction.)
Fed. R. App. P. 39 through 41, and Fed. R. App. P. 35, 39, and 41
govern costs, rehearings, and mandates. Fed. R. App. P. 35 and 40
require you to attach to your petition for panel rehearing or
rehearing en banc an unmarked copy of the court’s opinion or order.
Please read carefully the Internal Operating Procedures (IOP’s)
following Fed. R. App. P. 40 and Fed. R. App. P. 35 for a discussion
of when a rehearing may be appropriate, the legal standards applied
and sanctions which may be imposed if you make a nonmeritorious
petition for rehearing en banc.
Direct Criminal Appeals. Fed. R. App. P. 41 provides that a motion
for a stay of mandate under Fed. R. App. P. 41 will not be granted
simply upon request. The petition must set forth good cause for
a stay or clearly demonstrate that a substantial question will be
presented to the Supreme Court. Otherwise, this court may deny
the motion and issue the mandate immediately.
Pro Se Cases.   If you were unsuccessful in the district court
and/or on appeal, and are considering filing a petition for
certiorari in the United States Supreme Court, you do not need to
file a motion for stay of mandate under Fed. R. App. P. 41. The
issuance of the mandate does not affect the time, or your right,
to file with the Supreme Court.
Court Appointed Counsel. Court appointed counsel is responsible
for filing petition(s) for rehearing(s) (panel and/or en banc) and
writ(s) of certiorari to the U.S. Supreme Court, unless relieved
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of your obligation by court order. If it is your intention to
file a motion to withdraw as counsel, you should notify your client
promptly, and advise them of the time limits for filing for
rehearing and certiorari.     Additionally, you MUST confirm that
this information was given to your client, within the body of your
motion to withdraw as counsel.
The judgment entered provides that respondent pay to petitioners
the costs on appeal.    A bill of cost form is available on the
court’s website www.ca5.uscourts.gov.


                                Sincerely,
                                LYLE W. CAYCE, Clerk



                                By: _______________________
                                Whitney M. Jett, Deputy Clerk
Enclosure(s)
Mr. David Broderdorf II
Ms. Ruth E. Burdick
Mr. Daniel E. Curry
Ms. Margo A. Feinberg
Mr. Steffen Nathanael Johnson
Mr. Micah Prieb Stoltzfus Jost
Mr. Michael E. Kenneally
Mr. Sheng Tao Li
Mr. David Bruce Salmons
Ms. Kira Dellinger Vol
Mr. Timothy L. Watson
